                            United States District Court
                          Western District of North Carolina
                                 Asheville Division

 Lonnie B. Barbee,                    )              JUDGMENT IN CASE
                                      )
             Plaintiff,               )             1:18-cv-00267-MR-WCM
                                      )
 vs.                                  )
                                      )
 Isothermal Community College,        )
 Russell Wicker, David Libera, Thad   )
 Harrill, Steve Matheny, Walter       )
 Dalton, and Salonia Thorn,           )
                                      )
             Defendants.              )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 19, 2020 Memorandum of Decision and Order.

                                               October 19, 2020




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